     Case 3:21-cv-00465-MMD-CSD Document 11 Filed 06/03/22 Page 1 of 3



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 5   Attorney for the Plaintiff
 6                               UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA

 8
         MARISSA E. HARRIS,
 9
              Plaintiff,                                Case No. 3:21-cv-00465-MMD-CSD
10
              v.                                        PROPOSED STIPULATED DISCOVERY
11                                                      PLAN AND SCHEDULING ORDER
12       FIRST NATIONAL COLLECTION                      PLAINTIFF’S ONLY REPORT
13       BUREAU, INC.,

14            Defendant.

15           Plaintiff Marissa E. Harris (“Plaintiff”) by and through undersigned counsel of record,

16   submits her Stipulated Discovery Plan and Scheduling Order pursuant to Fed. R. Civ. P. 26(f) and
17
     LR 26-1.1
18

19        (1) Discovery Cut-Off Date: Defendant first appeared after responding to Plaintiff’s
              complaint on April 19, 2022. Discovery Cut-Off shall be 180 days from Defendant’s
20            answer on October 17, 2022.
21
          (2) Amending the Pleadings and Adding Parties: July 19, 2022
22

23        (3) Fed. R. Civ. P. 26(a)(2) Disclosures (Experts):

24           Expert disclosures: August 18, 2022
             Rebuttal-expert disclosures: September 19, 2022
25

26        (4) Dispositive Motions: November 16, 2022
27
     1
       Plaintiff’s counsel has sent multiple emails and phone calls to Defendant’s counsel of record
28   regarding this case and this instant order. Defendant has failed to respond.
                                                        1
     Case 3:21-cv-00465-MMD-CSD Document 11 Filed 06/03/22 Page 2 of 3



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 2      (5) Pretrial Order: December 16, 2022
 3

 4      (6) Fed. R. Civ. P. 26(a)(3) Disclosures. December 30, 2022

 5      (7) Alternative Dispute Resolution.
 6         The parties certify that they met and conferred about the possibility of using alternative
 7         dispute-resolution processes including mediation, arbitration, and if applicable, early
           neutral evaluation. The parties believe that this case is best suited for meditation.
 8
        (8) Alternative Forms of Case Disposition: The parties certify that have considered consent
 9          to trial by a magistrate judge and have chosen to not to consent.
10      (9) Electronic Evidence. The parties certify that have discussed ESI and have agreed to
            produce all ESI in .pdf format.
11

12
      By: /s/ Nicholas M. Wajda
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     Case 3:21-cv-00465-MMD-CSD Document 11 Filed 06/03/22 Page 3 of 3



 1                                     ORDER
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 3
     IT IS SO ORDERED:
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     DATED: _________________
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                                  ____________________________________________
 6                                THE HONORABLE JUDGE GLORIA M. NAVARRO
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